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 1   H. CLAY JACKE, II (SB#108734)
     Attorney at Law
 2   880 W. First St.
     Suite 302
 3   Los Angeles, CA 90012
     213-617-8128
 4
 5   Attorney for Defendant
     DAVID TERRAZAS
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          )   CASE NO. 1:11-CR-00354-LJO
                                                        )
12                                     Plaintiff,       )   WAIVER OF PERSONAL
                                                        )   APPEARANCE ON ARRAIGNMENT
13                       vs.                            )   AND ORDER THEREON
                                                        )
14   DAVID TERRAZAS,                                    )   [RULE 10(B)(2) F.R. Crim. P.]
                                                        )
15                                     Defendant.       )   HONORABLE LAWRENCE J. O’NEILL
                                                        )
16
17         Pursuant to Rule 10(b)(2), F.R.Crim.P., Defendant DAVID TERRAZAS, having been
18   advised of his right to be present at all stages of the proceedings, hereby waives his right to
19   be present in person in open court at his arraignment on the Superseding Indictment presently
20   set for February 17, 2012, at 1:00 p.m., in Courtroom Four of the above-entitled court.
21         Defendant hereby acknowledges that he has received a copy of the Superseding
22   Indictment and requests the court to proceed in his absence and agrees that his interest will
23   be deemed represented at said arraignment by the presence of his attorney, H. CLAY JACKE,
24   II, or another attorney appearing on Mr. Jacke’s behalf..
25   //
26   //
27
28                                                  1
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 1            Defendant further agrees that H. CLAY JACKE, II, or another attorney appearing on Mr.
 2   Jacke’s behalf, may enter a plea of NOT GUILTY on Defendant’s behalf to the charges in the
 3   Superseding Indictment.
 4
 5   DATED: February 7, 2012
 6
 7                                                             /s/ DAVID TERRAZAS
                                                        DAVID TERRAZAS
 8                                                      [Original signature in counsel’s file]
 9
10            Defendant’s counsel joins in his request for waiver of personal appearance at the
11   arraignment on the Superseding Indictment and agrees to enter a plea of NOT GUILTY on the
12   Defendant’s behalf or have another attorney appearing on his behalf to do so.
13
14   DATED: February 7, 2012
15
16                                                             /s/ H. CLAY JACKE, II
                                                        H. CLAY JACKE, II
17                                                      Attorney for Defendant
                                                        DAVID TERRAZAS
18
19
20                                               ORDER
21            Good cause appearance, Defendant DAVID TERRAZAS is excused from appearing at
22   the arraignment presently set for February 17, 2012, at 1:00 p.m.
23   IT IS SO ORDERED.
24   Dated:      February 13, 2012                /s/ Lawrence J. O'Neill
     b9ed48                                   UNITED STATES DISTRICT JUDGE
25
26
27
28                                                  2
